
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-08-458-CV



IN RE AAA WORLD FURNITURE, LLC, 				 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;RELATORS

ALI MAVANI AND SALIM VIRANI	



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relators’ petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relators’ petition for writ of mandamus is denied.

Relators shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL: &nbsp;DAUPHINOT, J.; CAYCE, C.J.; and WALKER, J. 



DELIVERED: &nbsp;December 23, 2008

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




